Case 1:03-cv-01097-.]DT-STA Document 125 Filed 05/16/05 Page 1 of 6 Page|D 158

  

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FoR THE wEsTERN DISTRICT oF TENNESSEE div / ` '\ 05
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DAN E. LoNG, ) »":-?',¢;¢ »WO/<~O 0/ //~;
) a§/Pa;»§€“
Plaintiff, ) "'C,§:§h(, F”
)
v. ) No. 03-1097 T/An
)
THE PRoCTER AND GAMBLE )
MANUFACTURING co., )
)
Defendant. )

 

ORDER DENYING MOTION TO STRIKE AFFIDAVIT OF DAN E. LONG
FILED IN OPPOSITION TO MOTION FOR SUMMARY JUDGMENT

 

Before the Court is Defendant Procter & Gamble’s Motion to Strike Plaintifi‘s Afiidavit
in Opposition to Motion for Summary .Tudgment filed on January 7, 2005. United States Distn`ct
Judge J ames D. Todd referred the matter to the Magistrate Judge for determination For the
reasons set forth below, the Motion is DENIED.

BACKGROUND

Defendant filed a Motion for Summary Judgment with the Court on August 9, 2004, and
Plaintift` responded to Defendant’s Motion for Summary Judgment on December 16, 2004.
Plaintiff attached the affidavit of Plaintiff Dan E. Long (“Plaintift”) to its Opposition to
Defendant’s Motion for Summary Judgment. ln the instant Motion, Defendant has asked the
Court to strike Plaintiff`s affidavit, or in the alternative to disregard various paragraphs in the
affidavit, because the affidavit does not comply with the requirements of Fed. R. Civ. P. 56(e).

Specifically, Defendant alleges that the affidavit contains various inconsistences, is not based

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Case 1:03-cv-01097-.]DT-STA Document 125 Filed 05/16/05 Page 2 of 6 Page|D 159

upon Plaintiff’ s personal knowledge and because the affidavit contains statements that are based
on inadmissible hearsay.

Plaintiff responded to the Motion to Strike on February 14, 2005. Plaintiff argues that his
affidavit does not materially contradict his deposition Plaintiff also argues that all issues of
credibility must be decided by the jury, not the Court. Finally, in response to Defendant’s
argument that Plaintiff lacked the personal knowledge needed, Plaintiff argues that “[p]ersonal
knowledge is a legal term of art, and the standard that should be applied by this Court is whether
Mr. Long was in a position to obtain the knowledge or whether he can call witnesses to present
the evidence at trial.” (Resp. to Mot. to Strike, at 7).

ANALYSIS

The Federal Rules of Civil Procedure allow a party to attach exhibits to a motion for
summary judgment or to a response to a motion for summary judgment In particular, Rule 56(e)
requires that “[s]upporting and opposing affidavits shall be made on personal knowledge, shall
set forth such facts as Would be admissible in evidence, and shall show affirmatively that the
affiant is competent to testify to the matters stated therein.” Fed. R. Civ. P. 56(e). These three
requirements are mandatory. See Charles A. Wright et al., F ederal Practz'ce & Procedure § 2738
(2d ed. 1983). Affidavits that do not satisfy the requirements of Rule 56(e) are subject to
motions to strike. See Reda’y v. Good Samaritan Hosp. & Health Ctr., 137 F. Supp. 2d 948, 954
(S.D. Ohio 2000).

“[A]ll materials submitted in support or in opposition to a motion for summary judgment
must set forth facts that would be admissible at trial.” Fl'ora'alisi v. Zubek, 342 F. Supp. 2d 737,

741 (N.D. Ohio 2004). Nevertheless, “[c]redibility determinations the weighing of the evidence,

Case 1:03-cv-01097-.]DT-STA Document 125 Filed 05/16/05 Page 3 of 6 Page|D 160

and the drawing of legitimate inferences from the facts are jury functions, not those of a judge,
whether he is ruling on a motion for summary judgment or for a directed verdict.” Anderson v.
Lr'berty Lobby, Inc., 477 U.S. 242, 255 (1986). Therefore, the Court should not strike an
affidavit merely because it raises some concerns of the credibility of a Witness.

ln TJ's South, Inc. v. Town ofLowell, 895 F. Supp. 1125 (N.D. lnd. 1995), a tavern
brought action challenging constitutionality of town zoning ordinance requiring eating and
drinking establishments to obtain permission, in form of special exception, from town council
and zoning board before presenting entertainment When the plaintiff filed its Motion for
Summary Judgment, the defendant moved to strike portions of affidavits submitted by plaintiff
The Court, however, held that because the motion to strike involved “matters of witness
credibility and an overzealous definition of what constitutes a legal conclusion,” the motion
should be denied. Id. at 1127.

ln another case, an employer brought suit against a former employee to recover on a
promissory note and an employment contract The trial court entered summary judgment for the
employer, and the employee appealed. On appeal, the Fifth Circuit Court of Appeals held that “a
district court must consider all the evidence before it and cannot disregard a party’s affidavit
merely because it conflicts to some degree with an earlier deposition.” Kennett-Murray Corp. v.
Bone, 622 F.2d 887, 893 (5th Cir. 1980) (emphasis added). “An opposing party’s affidavit
should be considered although it differs from or varies his evidence as given by deposition or
another affidavit and the two in conjunction may disclose an issue of credibility.” Id. (quoting 6
Moore ’s Federal Pracr‘ice jj 56-15(4), at 56-522). One exception to this rule is when an issue

raised in an affidavit constitutes a sham. See id at 893-94. A sham would be present, for

Case 1:03-cv-01097-.]DT-STA Document 125 Filed 05/16/05 Page 4 of 6 Page|D 161

exarnple, when a party attempts to inject a factual dispute through a contradictory affidavit to
save the case from summary judgment

While it does appear that there are some inconsistencies between statements made by
Plaintiff in his affidavit and statements made during his deposition, the Plaintiff may be able to
explain the apparent inconsistencies or offer testimony from other witnesses to further explain or
clarify the overall situation that he is addressing Moreover, whether or not some of the
statements are believable or not requires an assessment of the Plaintiff‘s credibility As stated by
the United States Supreme Court, credibility issues are for the jury to decide. Following T own of
Lowell and Bone, the Court concludes that Plaintiff’s affidavit should not be stricken, and
Defendant’s Motion is DENIED.

Pursuant to the Order of Reference, any objections to this Order shall be made in writing
within ten days after service of this Order and shall set forth with particularity those portions of

the Order objected to and the reasons for those objections

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S. THOMAS ANDERSON
UN'ITED STATES MAGISTRATE JUDGE

IT IS SO ORDERED.

Date: 27?&; /é,. ZO¢U/

   

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Notice of Distribution

This notice confirms a copy of the document docketed as number 125 in
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Case 1:03-cv-01097-.]DT-STA Document 125 Filed 05/16/05 Page 6 of 6 Page|D 163

Honorable J ames Todd
US DISTRICT COURT

